                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                           CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                  No. CR 11-0111
 vs.                                   ORDER REGARDING
                                  MAGISTRATE’S REPORT AND
 PATRICK JOSEPH TOOMEY,                RECOMMENDATION
                                   CONCERNING DEFENDANT’S
          Defendant.                      GUILTY PLEA
                     ____________________


                       I. INTRODUCTION AND BACKGROUND
        On October 21, 2011, a one-count Information was filed against the defendant
Patrick Joseph Toomey. On October 24, 2011, the defendant appeared before United
States Magistrate Judge Jon S. Scoles and entered a plea of guilty to Count 1 of the
Information. On October 24, 2011, Judge Scoles filed a Report and Recommendation in
which he recommended that defendant’s guilty plea be accepted. No objections to Judge
Scoles' Report and Recommendation were filed. The court, therefore, undertakes the
necessary review of Judge Scoles' recommendation to accept defendant’s plea in this case.


                                      II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or
               recommendations to which objection is made. A judge of the
               court may accept, reject, or modify, in whole or in part, the
               findings or recommendations made by the magistrate [judge].


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28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Scoles' Report and Recommendation of October 24,
2011, and accepts defendant’s plea of guilty in this case to Count 1 of the Information.
       IT IS SO ORDERED.
       DATED this 8th day of November, 2011.




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